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11
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13   UNITED STATES OF AMERICA,                       )   CASE NO. CR 17-00237-4 BLF
                                                     )
14           Plaintiff,                              )   UNITED STATES’ SENTENCING
                                                     )   MEMORANDUM
15      v.                                           )
                                                     )   Date: June 18, 2019
16   SERGIO ANTONIO PADILLA-LOPEZ,                   )   Time: 9:00 A.M.
                                                     )   Court: Hon. Beth Labson Freeman
17           Defendant.                              )
                                                     )
18

19           For the reasons below, the government respectfully recommends that the Court sentence
20 defendant Sergio Antonio Padilla-Lopez to 57 months of imprisonment followed by 3 years of

21 supervised release.

22     I.    Sentencing Guidelines Calculation
23           On March 5, 2019, the parties signed a plea agreement (Doc. 98) in which they agreed to
24 calculate the defendant’s offense level based on a mixture-or-substance weight of 17.7 pounds, i.e.,

25 approximately 8 kilograms of a substance containing a detectable amount of methamphetamine. The

26 parties arrived at this agreement because Mr. Padilla had indicated to the government his intent to plead

27 guilty before the DEA laboratory issued its chemical analysis report showing an actual

28 methamphetamine weight of 7.96 kilograms. Although both parties conducted additional investigation

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 1 to resolve certain legal and factual matters, the parties based their agreement on the weight of the

 2 controlled substance known at the time Mr. Padilla first indicated his intent to enter a guilty plea. The

 3 U.S. Probation Office has calculated the defendant’s offense level based on the pure methamphetamine

 4 weight, which is correct given the current evidence. However, the government respectfully requests that

 5 the Court adopt the parties’ calculation, as it was the parties’ intent to resolve the case and proceed to

 6 sentencing using that offense level:

 7          Base offense level (U.S.S.G. § 2D1.1(a)(5)(B)(ii), (c)(3))                                31
            Safety valve (§ 2D1.1(b)(17))                                                             -2
 8          Minor participant (§ 3B1.2(b))                                                            -2
            Acceptance of responsibility (§ 3E1.1(b))                                                 -3
 9          Adjusted Offense Level                                                                    24

10 Combined with criminal history category I, the resulting sentencing guidelines range is 51 to 63 months

11 of imprisonment.

12    II.   Sentencing Recommendation

13          The government recommends a mid-range guidelines sentence for two main reasons. First, the

14 Sentencing Guidelines adequately capture the most important aspects of this case, including the amount

15 of methamphetamine the defendant delivered, his minor role, his acceptance of responsibility, and his

16 lack of criminal history. Second, although the PSR cites several mitigating factors, including

17 employment history, family support, and participation in substance abuse treatment programs and self-

18 improvement classes, the balance of the non-guidelines factors weighs more heavily in favor or

19 aggravation, not mitigation.

20          For example, the defendant’s actions implicated and imperiled not only himself, but also his

21 fiancée. Mr. Padilla took her along with him on the trip from Kerman to Gilroy, apparently to use her as

22 part of a cover story in case he was stopped by law enforcement. According to his fiancée, Mr. Padilla

23 told her that he was taking her shopping, then to the beach. Instead, she was in the vehicle with him

24 when he delivered the drugs and, as a result, was arrested and charged by complaint, although the

25 complaint was ultimately dismissed.

26          In addition, the circumstances of Mr. Padilla’s offense conduct suggest that his knowledge of and

27 involvement in drug trafficking is likely greater than just this one delivery. Mere days after arriving

28 from Mexico, Mr. Padilla was entrusted with a significant quantity of drugs over an extended distance:

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 1 transporting 17.7 pounds of 99% pure methamphetamine over 100 miles from Kerman to Gilroy,

 2 California. This is not the type of responsibility normally entrusted to a novice drug runner, especially

 3 on short notice. Moreover, the defendant’s execution of the drug delivery operation could be best

 4 described as smooth and sure. Aerial surveillance footage shows Mr. Padilla arriving at the delivery site

 5 in his vehicle, then quickly and efficiently parking, removing the drugs, walking to the target vehicle,

 6 opening the door, placing the drugs inside, and returning to his vehicle. No missteps, no hesitation.

 7 Again, the indication is that Mr. Padilla’s experience as a drug runner exceeds this one delivery.

 8          Considering all of these factors, aggravating and mitigating, a mid-range guidelines sentence

 9 would be sufficient, but not greater than necessary, to meet the goals of sentencing. Consequently, the
10 government respectfully recommends that the Court sentence the defendant to 57 months of

11 imprisonment and 3 years of supervised release.

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13 DATED: June 11, 2019                                          Respectfully submitted,

14                                                               DAVID L. ANDERSON
                                                                 United States Attorney
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16
                                                                 /s/ Scott Simeon
17                                                               SCOTT SIMEON
                                                                 Assistant United States Attorney
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